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5    Attorneys for Defendant
     RUSSELL EUGENE GILMORE
6
7                                       UNITED STATES DISTRICT COURT
8                                      EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                         )   Case No. 2:13-cr-300 GEB
                                                       )
10                              Plaintiff,             )   STIPULATION AND [PROPOSED] ORDER
                                                       )   TO CONTINUE TRIAL CONFIRMATION
11           v.                                        )   HEARING TO JULY 10, 2015
                                                       )
12   RUSSELL EUGENE GILMORE, et al.,                   )   Date: July 10, 2015
                                                       )   Time: 9:00 a.m.
13                              Defendants.            )   Judge: Hon. Garland E. Burrell, Jr.
                                                       )
14
15             Plaintiff United States of America, by and through its counsel of record, and defendants,
16   by and through their respective counsel of record, hereby stipulate as follows:
17             1.         By this stipulation, defendants now move to continue the trial confirmation
18   hearing until July 10, 2015 at 9:00 a.m., before the Honorable Garland E. Burrell Jr. Time has
19   already been excluded up to and including July 28, 2015 under Local Code T4. Plaintiff does not
20   oppose this request.
21             2.         The parties agree and stipulate, and request that the Court find the following:
22                        a.     Counsel for defendants request additional time to review discovery, to
23   conduct investigation and research related to the charges, to discuss potential resolutions with
24   their clients, and to otherwise prepare for trial.
25                        b.     Counsel for defendants believe that failure to grant the above-requested
26   continuance would deny them the reasonable time necessary for effective preparation, taking into
27   account the exercise of due diligence.
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      Stipulation to Continue                              -1-               United States v. Mahan, et al., 2:13-cr-300 GEB
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1                         c.     The government does not object to the continuance.
2                         d.     Based on the above-stated findings, the ends of justice served by
3    continuing the case as requested outweigh the best interest of the public and the defendants in a
4    trial within the original date prescribed by the Speedy Trial Act.
5              3.         Nothing in this stipulation and order shall preclude a finding that other provisions
6    of the Speedy Trial Act dictate that additional time periods are excludable from the time period
7    within which a trial must commence.
8    IT IS SO STIPULATED.
9    Dated: June 23, 2015                               BENJAMIN B. WAGNER
                                                        United States Attorney
10
11                                                      /s/ Samuel Wong
                                                        SAMUEL WONG
12                                                      Assistant United States Attorney

13   DATED: June 23, 2015                                /s/ Mark Reichel
                                                        MARK REICHEL
14
                                                        Counsel for Defendant
15                                                      John H. Mahan

16   DATED: June 23, 2015                               /s/ Matthew Bockmon
                                                        MATTHEW C. BOCKMON
17                                                      Counsel for Defendant
18                                                      Russell E. Gilmore

19   DATED: June 23, 2015                               /s/ Michael Bigelow
                                                        MICHAEL BIGELOW
20                                                      Counsel for Defendant
                                                        Richard D. Hemsley
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      Stipulation to Continue                              -2-               United States v. Mahan, et al., 2:13-cr-300 GEB
       Case 2:13-cr-00300-GEB Document 83 Filed 06/24/15 Page 3 of 3


1                                                   ORDER
2              The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
4    on the representation of the parties and good cause appearing therefrom, the Court hereby finds
5    that the failure to grant a continuance in this case would deny defense counsel reasonable time
6    necessary for effective preparation, taking into account the exercise of due diligence. The Court
7    finds that the ends of justice to be served by granting a continuance outweigh the best interests of
8    the public and the defendants in a speedy trial. It is ordered that the trial confirmation hearing is
9    continued from June 26, 2015 to July 10, 2015 at 9:00 a.m. Time is already excluded from
10   computation of time within which the trial of this matter must be commenced under the Speedy
11   Trial Act pursuant to 18 U.S.C. § 3161(h) (7) (A) and (B) (iv) and Local Code T 4, to allow
12   defense counsel reasonable time to prepare.
13   IT IS SO ORDERED.
14   Dated: June 24, 2015
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      Stipulation to Continue                          -3-               United States v. Mahan, et al., 2:13-cr-300 GEB
